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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                7/10/2023
 UNITED STATES OF AMERICA,

                       -v.-                              23 Cr. 16 (JHR)

 CHARLES McGONIGAL and SERGEY                            ORDER
 SHESTAKOV,
                               Defendants.

JENNIFER H. REARDEN, District Judge:

       IT IS HEREBY ORDERED that a status conference to address classified discovery and

potential motion practice under the Classified Information Procedures Act will take place at the

previously agreed upon time and place.

       SO ORDERED.

Dated: July 10, 2023
       New York, New York


                                                               JENNIFER H. REARDEN
                                                                              REARD
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                                                               United    t District
                                                                      States Di t i t Judge
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